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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION



BORIS TAVE MCKINNEY,

             Plaintiff,

vs.                                                  5:05CV35-SPM/AK

JAMES CROSBY, et al,

             Defendants .

                                /


                                     ORDER

      This cause is before the court upon Plaintiff's filing of an amended civil rights

complaint under 42 U.S.C. § 1983 (doc. 29), wherein Plaintiff complains of

treatment by several officers at Jackson Correctional Institution and the North

Florida Reception Center, which allegedly occurred in relation to his appearance at

a hearing on behalf of another inmate.

      From a review of the complaint, it is evident that the facts as presented fail

to state a claim upon which relief can be granted.

      First, Plaintiff names James Crosby as a defendant, but does not identify

any actions he took with regard to the constitutional violations of which he
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complains. Liability for damages cannot be imposed upon Defendant Moore in his

individual capacity merely because of his supervisory authority as Secretary of the

Florida Department of Corrections. Polk County v. Dodson, 454 U.S. 312, 325, 102 S.

Ct. 445, 70 L. Ed. 2d 509 (1981); Harvey v. Harvey, 949 F.2d 1127, 1129 (11th Cir.

1992), citing Monell v. Department of Social Services, 436 U.S. 658, 98 S. Ct. 2018, 56

L. Ed. 2d 611 (1978). Although personal participation is not specifically required for

liability under § l983, there must be some causal connection between the defendant

named and the injury allegedly sustained. Swint v. City of Wadley, 51 F.3d 988, 999

(11th Cir. 1995); Rivas v. Freeman, 940 F.2d 1491, 1495 (11th Cir. 1991); Zatler v.

Wainwright, 802 F.2d 397, 401 (11th Cir. 1986). Supervisory personnel cannot be held

vicariously liable for the actions of their subordinates, but may be independently liable if

a reasonable person in the supervisor’s position would have known that his conduct

infringed the Plaintiff’s rights and the supervisor’s conduct was causally related to the

subordinate’s constitutional violation. Greason v. Kemp, 891 F.2d 829, 836 (11th Cir.

1990); McKinney v. DeKalb County, 997 F.2d 1440, 1443 (11th Cir. 1993). However,

Plaintiff has not identified anything that Crosby did in relation to the events

described, and he should therefore be deleted as a defendant from a second

amended complaint.

       Second, the only actions Plaintiff contends that Defendant Brestynski took

against him was to say “When you fuck with all of us we will get you,” and shake

his fist at them. (Doc. 29, p. 13). Plaintiff has no cause of action under 42 U.S. C.

§1983 for Defendant’s alleged threat and verbal abuse. See Keenan v. Hall, 83

F3d 1083, 1092 (9th Cir. 1996) (assaultive comments by prison guard not enough

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to implicate the Eighth Amendment); Gaut v. Sunn, 810 F.2d 923, 925 (9th Cir.

1987) (mere threat does not constitute constitutional wrong); Sprouse v. Babcock,

870 F.2d 450, 452 (8th Cir. 1989) (prisoner has no constitutionally guaranteed

immunity from being falsely or wrongly accused of conduct which may result in

deprivation of protected liberty interest); Siglar v. Hightower, 112 F.3d 191, 193 (5

Cir. 1997) (verbal abuse not cognizable under 1983); Freeman v. Rideout, 808

F.2d 949, 951 (2d Cir. 1986) (same), cert. denied, 485 U.S. 982 (1988) (same).

Consequently, the claims against Defendant Brestynski for threatening him should

be deleted from a second amended complaint, if Plaintiff chooses to file one.

       It appears that the only viable claims stated in the amended complaint are

those against John Does 1, 2 and 3, for using excessive force against him or

watching the others use it against him. Specifically, Plaintiff claims that one officer

grabbed him by the throat and another slapped him. There are, however, two

problems with this claim. First, Plaintiff has attached only one request for

administrative remedy which addresses the excessive force issue. (Doc. 29,

Exhibit A). The response and another request dated January 16, 2005, indicate

that there was an investigation and perhaps more papers connected to the

administrative remedy process with regard to this claim. If Plaintiff has more

papers showing his exhaustion of these remedies he should attach them to the

second amended complaint to make more clearly what steps he took and the result

of those efforts. Second, Plaintiff has not alleged any type of injury resulting from

the alleged use of force. Section 1997e(e) provides: "No Federal civil action may be

brought by a prisoner confined in a jail, prison, or other correctional facility, for mental or

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emotional injury suffered while in custody without a prior showing of physical injury." 42

U.S.C. § 1997e(e). Despite the wording of § 1997e(e), that ”[n]o Federal civil action

may be brought,” this circuit has established that the statute limits relief, not causes of

action. If there is no physical injury alleged, then mental or emotional monetary

damages, as well as punitive damages, cannot be recovered, but declaratory and

injunctive relief may be available.1 Harris v. Garner, 216 F.3d 970 (11th Cir. 2000)2,

reinstating in part 190 F.3d 1279 (11th Cir. 1999) and Osterback v. Ingram, et al., No.

00-10558, 263 F.3d 169 (11th Cir. 2001) (Table). 215 F.3d at 1230. Nominal damages

may still be recovered even though there are no compensable damages. Slicker v.

Jackson, 215 F.3d at 1231, citing Carey v. Piphus, 435 U.S. 247, 266, 98 S.Ct. at 1054.

Plaintiff’s claim for relief includes a transfer, and compensatory damages of $250,000.

from each defendant. Without some injury there is nothing to compensate him for, and

he would only be entitled to nominal damages. Thus, if Plaintiff has no physical injuries

resulting from the incident with the John Doe officers, he should consider dismissing this

lawsuit.




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         “[C]ompensatory damages under § 1983 may be awarded only based on actual
injuries caused by the defendant and cannot be presumed or based on the abstract
value of the constitutional rights that the defendant violated.“ Slicker v. Jackson, 215
F.3d 1225, 1229 (11th Cir. 2000) (emphasis by the court), citing Memphis Comm. Sch.
Dist, v. Stachura, 477 U.S. 299, 309-310, 106 S.Ct. 2537, 2544, 91 L.Ed.2d 249 (1986)
and Carey v. Piphus, 435 U.S. 247, 264, 98 S.Ct. at 1042, 1052, 55 L.Ed.2d 252 (1978).
       2
         Harris v. Garner, 190 F.3d 1279 (11th Cir. 1999) was vacated by 197 F.3d
1059, and the Opinion Reinstated in Part on Rehearing by 216 F.3d 970 (11th Cir.
2000), cert. denied 121 S. Ct. 2214 (2001). The parts of the panel opinion relevant to
this legal issue were reinstated.

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       If Plaintiff insists on amending his complaint, he should carefully review the

foregoing to determine whether he can present allegations sufficient to state a cause

of action under the relevant law. If Plaintiff is able to file a second amended

complaint, he must name as Defendants only those persons who are responsible for

the alleged constitutional violations. Plaintiff must place their full names in the style

of the case on the first page of the civil rights complaint form and in the other

appropriate sections of the form. Further, Plaintiff should clearly describe how each

named Defendant is involved in each alleged constitutional violation. In civil rights

cases, more than conclusory and vague allegations are required to state a cause of

action. See, e.g., Fullman v. Graddick, 739 F.2d 553, 556-57 (11th Cir. 1984). In

presenting his claims, Plaintiff must set forth each allegation in a separately

numbered paragraph, as it is essential that the facts relating to each Defendant be

set out clearly and in detail.

       To amend his complaint, Plaintiff must completely fill out a new civil rights

complaint form, marking it "Second Amended Complaint." Plaintiff is advised that

the second amended complaint must contain all of Plaintiff's allegations and should

not in any way refer to the original or amended complaints. A second amended

complaint completely replaces all previous complaints and all earlier complaints are

disregarded. N.D. Fla. Loc. R. 15.1. Plaintiff should file the second amended

complaint in the Court and keep one identical copy for himself. Plaintiff need not file

service copies until instructed to do so by the court.

       Accordingly, it is hereby

       ORDERED:

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      1. The clerk of court shall forward to Plaintiff another Section 1983 form.

      2. Plaintiff must respond to this order by June 15, 2005.

      3. Failure of Plaintiff to respond to this order or submit the requested

information or explain his inability to do so will result in a recommendation to the

District Judge that this action be dismissed.

      DONE AND ORDERED this 16th day of May, 2005.




                                         s/ A. KORNBLUM
                                         ALLAN KORNBLUM
                                         UNITED STATES MAGISTRATE JUDGE




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